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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UT BRANDS, LLC,                                 )
                                                )
               Plaintiff,                       )   No. 19-cv-06599
                                                )
v.                                              )   Judge Andrea R. Wood
                                                )
THE PARTNERSHIPS and                            )   Magistrate Judge Sunil R. Harjani
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A,”                     )
                                                )
               Defendants.                      )
                                                )


                            FINAL DEFAULT JUDGMENT ORDER

        This action having been commenced by Plaintiff, UT Brands (“Plaintiff”) against the

defendants operating the websites/webstores identified on Schedule “A” to Plaintiff’s Complaint

(collectively, the “Infringing Webstores”), and Plaintiff having moved for entry of Default and

Default Judgment against the defendants not already dismissed, identified in Appendix “A”

(collectively, the “Defaulting Defendants”);

        This Court having entered upon a showing by Plaintiff a temporary restraining order and

preliminary injunction against Defaulting Defendants;

        Plaintiff having properly completed service of process on Defaulting Defendants,

providing notice via e-mail, along with any notice that Defaulting Defendants received from the

ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under

all circumstances to apprise Defaulting Defendants of the pendency of the action and affording

them the opportunity to answer and present their objections; and
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       Defaulting Defendants having failed to answer the Complaint or otherwise

plead, and the time for answering the Complaint having expired;

       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants because Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Infringing Websites through which Illinois residents can purchase products bearing

counterfeit versions of U.S. Reg. Nos. 5483926 and 5620627 for the TRICERATACO AND

TACOSAURUS REX marks.

       The registration is valid, unrevoked, and uncancelled. Defendants use the mark and

display images protected by trademark and copyright on the infringing websites without

Plaintiff’s permission or consent.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

   IT IS FURTHER ORDERED that

       1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them

be permanently enjoined and restrained from:




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   a. using the TRICERATACO AND TACOSAURUS REX trademark or any

   reproductions, counterfeit copies or colorable imitations thereof in any manner in

   connection with the distribution, marketing, advertising, offering for sale, or sale of any

   product that is not a genuine UT Brands product or not authorized by Plaintiff to be sold

   in connection with the TRICERATACO AND TACOSAURUS REX Trademark;

   b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

   UT Brands product or any other product produced by Plaintiff, that is not Plaintiff’s or

   not produced under the authorization, control or supervision of UT Brands and approved

   by Plaintiff for sale under the TRICERATACO AND TACOSAURUS REX Trademark;

   c. committing any acts calculated to cause consumers to believe that Defendants’

   Counterfeit Products are those sold under the authorization, control or supervision of UT

   Brands, or are sponsored by, approved by, or otherwise connected with UT Brands;

   d. further infringing the TRICERATACO AND TACOSAURUS REX trademark and

   damaging Plaintiff’s goodwill;

   e. otherwise competing unfairly with Plaintiff in any manner;

   f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

   storing, distributing, returning, or otherwise disposing of, in any manner, products or

   inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

   offered for sale, and which bear any of the TRICERATACO AND TACOSAURUS REX

   trademark, or any reproductions, counterfeit copies or colorable imitations thereof;

   g. using, linking to, transferring, selling, exercising control over, or otherwise owning or

   operating the infringing webstores, websites, or any other domain name that is being used

   to sell or is the means by which Defendants could continue to sell Counterfeit Products;




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       h. operating and/or hosting infringing webstores, websites and any other domain names

       registered or operated by Defendants that are involved with the distribution, marketing,

       advertising, offering for sale, or sale of any product bearing the TRICERATACO AND

       TACOSAURUS REX trademark or any reproductions, counterfeit copies or colorable

       imitations thereof that is not a genuine UT Brands product or not authorized by UT

       Brands to be sold in connection with the TRICERATACO AND TACOSAURUS REX

       trademark;

       i. registering any additional stores, websites, or domain names that use or incorporate any

       of the TRICERATACO AND TACOSAURUS REX trademark; and

       j. using images covered by the PLAINTIFF’s Copyrights or any of PLAINTIFF’s

       original photographs that UT Brands uses to advertise the sale of original UT Brands

       products.

       2.      Those in privity with Defaulting Defendants and with actual notice of this Order,

including ecommerce platform providers, such as Alibaba, Ali-Express, Amazon, eBay, Wish,

etc., shall within three (3) business days of receipt of this Order:

       a. disable and cease providing services for any accounts through which Defaulting

       Defendants, in the past, currently or in the future, engage in the sale of goods using the

       TRICERATACO AND TACOSAURUS REX Trademarks, including, but not limited to,

       any accounts associated with the Defaulting Defendants listed on Schedule “A” not

       dismissed from this action; and

       b. disable any account linked to Defaulting Defendants, linked to any e-mail addresses

       used by Defaulting Defendants, or linked to any of the Infringing webstores/websites.




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     Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each of the

Defaulting Defendants in the amount of Two-Million Dollars (U.S.) and No Cents

($2,000,000.00) for using counterfeit TRICERATACO AND TACOSAURUS REX Trademarks

on products sold through at least the Infringing webstores/websites. As to each Defaulting

Defendant, until such Defaulting Defendant has paid in full the award of statutory damages

against it:

     a. Alibaba, Ali-Express, Amazon, eBay, Wish (collectively the “Platforms”) and PayPal,

         Payoneer, WorldFirst, World First Asia Limited, World First Markets Limited, World

         First USA, Inc., Bill.com, Pingpong, Payeco, Umpay/Union Mobile Pay, Moneygram,

         Western Union and any of their subsidiaries (collectively the “Payment Processors”)

         shall, within two (2) business days of receipt of this Order, permanently restrain and

         enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

         Infringing webstores/websites identified in Schedule “A”, except those dismissed, from

         transferring or disposing of any money or other of Defaulting Defendants’ assets.

     b. All monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by the Platforms or the Payment Processors are hereby released to Plaintiff

        as partial payment of the above-identified damages, and are ordered to release to Plaintiff

        the amounts from Defaulting Defendants’ Platform or Payment Processor accounts within

        ten (10) business days of receipt of this Order.

     c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or the

        Payment Processors in the event that any new accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, the Platforms or the

        Payment Processors shall within two (2) business days:




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            i. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

             Defendants’ Infringing webstores/websites, including, but not limited to, any

             accounts connected to the information listed in Schedule “A” of the Complaint, the

             e-mail addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and

             any e-mail addresses provided for Defaulting Defendants by third parties;

            ii. Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

            iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as

             partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

       4.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks, savings

and loan associations, payment processors, or other financial institutions (collectively, the

“Financial Service Providers”) in the event that any new financial accounts controlled or

operated by Defaulting Defendants are identified. Upon receipt of this Order, the Financial

Service Providers shall within two (2) business days:

       a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

       Defendants’ Infringing webstores/websites, including, but not limited to, any accounts

       connected to the information listed in Schedule “A” of the Complaint, the e-mail

       addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and any e-mail

       addresses provided for Defaulting Defendants by third parties;

       b. Restrain and enjoin such accounts or funds from receiving, transferring or disposing of

       any money or other of Defaulting Defendants’ assets; and




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       c. Release all monies restrained in Defaulting Defendants’ financial accounts to Plaintiff

       as partial payment of the above-identified damages within ten (10) business days of

       receipt of this Order.

       5.     In the event that Plaintiff identifies any additional webstores, websites, domain

names or financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any

supplemental proceeding to Defaulting Defendants by e-mail at the email addresses identified in

Exhibits 1 to the Declaration of David Gulbransen and any e-mail addresses provided for

Defaulting Defendants by third parties.


IT IS SO ORDERED.




Dated: January 17, 2020                             __________________________
                                                    Andrea R. Wood
                                                    United States District Judge




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                                          Appendix A

Doe        Seller Name                                 Seller ID
1          dgjianhe                                    dgjianhe
2          hdpromotion                                 hdpromotion
3          hzhony                                      hzhony
4          sensotv                                     sensotv
5          shengshuo                                   shengshuo
6          wuxichrt                                    wuxichrt
7          wxchrt                                      wxchrt
8          yiwulizhi                                   yiwulizhi
9          ywouke                                      ywouke
10         zjhony                                      zjhony
11         Imc Digital Technology Company Ltd.         19898
12         slingifts Official Store                    203910
13         Leading lifestyle store                     1359042
14         Perfect House Fou U-99999                   1799097
15         unexpected shopping heaven Store            1805827
16         BeeFun Store                                2404011
17         Pawprint Store                              2675065
18         KingPet Market Store                        2881374
19         Your Lifestyle Store                        2956255
20         AIYIGU Store                                3081031
21         Poo Kitchen Store                           3091072
22         Zoe's Little Store                          3135014
23         Chuffed Cotton Store                        3205074
24         For Beloved Store                           3207130
25         hayppy Store                                3248036
26         F Rhyme Store                               3249041
27         ZMHEGW Store                                3256113
28         Chakwan Living Store                        4003002
29         Onew Store                                  4239016
30         LoveFaith Store                             4414217
31         Heitan Store                                4423106
32         VAHIGCY Tools Store                         4498073
33         Art_Life Store                              4500038
34         monokweepjy Pink Life Store                 4501005
35         ToHappiness Store                           4566019
36         Dreaming shop Store                         4568034



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37         Good Life Strona Store                        4690092
38         Shop4705087 Store                             4705087
39         Lenzero Store                                 4808144
40         Professional Daily Supplies Store             4837002
41         jolie's Garden Store                          4972002
42         Empower Dropshipper Store                     4987269
43         KHLO Store                                    4998468
44         H-O-M-E-Y Store                               4998519
45         BETL H-HOME Store                             5000447
46         BETLargest H-HOME Store                       5007436
47         Do It At Possible Moment Store                5047362
48         Bonjour LIFE Store                            5067177
49         Catch your Lift Store                         5106108
50         Welove_ Store                                 5117077
51         Smartlove1P                                   A170AGRQNWQZ9G
52         Waziri-Trading                                A17IAYGH6OWOQT
53         Legend Tech Company                           A183B6BUYSVOFM
54         BrookfieldQQ                                  A18EBKFVZLWBEL
55         Sherry-us                                     A1E55M5X87KB99
           yan bian tian cheng shang mao you xian gong
56         si                                            A1NMAGR4OK6CPH
57         xianchao                                      A1P2NU1U7KPBDO
58         HongGangWang                                  A1PDQUYI0P6LGD
59         Peppydazi                                     A1PLE3AVZYB7X8
60         DUP                                           A1QHK7XF17HE6Z
61         anglebless                                    A1SGWXLPN5N25G
62         Weka Power                                    A1TTCT9XHR3WSW
63         Lamijua                                       A26VUQETDDACG2
64         Youghalwell                                   A2CCC68PG8RG1G
66         Bonviee                                       A2OWEX78XBFB0V
67         CremeBruluee                                  A2RW9MJOTYLDD
68         Tour-sea                                      A31NS8QFAMWKJK
69         ESHOPCLUB                                     A33MFGTE8P3UN2
70         WellingtonA                                   A3PVV0C2B9SA7D
71         eyesonme                                      A3QKRJYXAJR32N
72         Homics                                        A3U7E3Z01HXCYO
73         Moms Hand Home Collection                     A3VN3QPQOY06E5
74         PGTech                                        A5M78O8Q5WPTT
75         Sweepingy                                     AC2IT42P87IZ3




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77      Hydens                                AVX2KZ56JE64A
78      AgoHike                               AX9Q4LWEYS4IX
79      keruite                               AY38MCL9DI1L
80      amazing-sale                          amazing-sale
81      anybestbuy                            anybestbuy
84      estrvill38                            estrvill38
85      kysting                               kysting
86      lifebestchoice                        lifebestchoice
87      mayunstore                            mayunstore
88      midnightwarrior125                    midnightwarrior125
89      needyouknow                           needyouknow
90      okstores                              okstores
91      repairmall2013                        repairmall2013
92      rose-in-july                          rose-in-july
93      shopbest2u                            shopbest2u
94      slus71                                slus71
95      thebestqualitygoods                   thebestqualitygoods
96      tm_store                              tm_store
97      worthbuyer                            worthbuyer
98      yuwanlin02                            yuwanlin02
99      Fashion room                          536864537360461009872ba6
100     angelroom                             5386dd3fb9ee841fe3c9b0dd
101     best buyer international              54fe6a57a0086e70c9d8de2b
102     electricace                           55f0e73c0936f455239f662b
103     Shrine                                570b4792c277d458ff41d7b8
104     get your save                         582c42fb728de646f2487984
105     kisrain                               58c69f9d6b8cfe51b0a10aad
106     tklight                               58c9384b91743e508ff22de5
107     OKselling                             58f8793eb33b8510e90e072b
108     dylantt                               590bde8e0f961720633ea539
109     johnnychan                            5914672a387dd12e362b9e22
110     ourdress                              59146c0c71a2f21160479ee5
111     avenue                                592e83b64e43b34673bc0075
112     crazybuyv                             594093c5484de9502a70a493
113     weestar                               598a9fffae228e50af5ba1bb
114     JiaShiKe                              598bfe3a0415f8425246ded3
115     shoprythe                             5a013c5fdd032965f878cdb9
116     twokits                               5a13e4020f193f63d57d8da9
117     mmretro                               5a13e9223eb22a053e347796



                                      10
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118     composave                             5a1cc1b99aee09571df708a3
119     yunskystore                           5a2b492c7dee4a45f5627b5c
120     skzyouth0112                          5a337dc6ccd9fc210c43b4d4
121     sweetyngirls                          5af257041cc5b717932dcf58
122     wellwawa                              5b0d0b26c721a95c915ef84a
123     refueling666                          5b28b9802b04103b7a15235a
124     yingling                              5b2c58415676c35a23219ae7
125     youjianhuozhan                        5b4ffb5b495a5628855d4f41
126     kumaissale                            kumaissale
127     somejishop                            somejishop
128     splinegoods                           splinegoods
129     teapeak                               teapeak
130     getsnobs                              getsnobs
131     homealls                              homealls




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